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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

  CLINT STEPHENS,                                  §
                                                   §
                                                   §    CIVIL ACTION NO. 5:20-CV-00138-RWS
                   Plaintiff,                      §
                                                   §
  v.                                               §
                                                   §
  THE LILITH FUND FOR                              §
  REPRODUCTIVE EQUITY, TEXAS                       §
  EQUAL ACCESS FUND, THE AFIYA                     §
  CENTER,                                          §
                                                   §
                   Defendants.                     §

                                               ORDER

           The above-entitled and numbered civil action was referred to the United States Magistrate

  Judge. On November 2, 2020, the Magistrate Judge entered a Report and Recommendation

  (Docket No. 20), recommending Plaintiff’s Motion to Remand and for Reimbursement of Costs

  and Fees (Docket No. 12) be GRANTED IN PART as to remand and DENIED IN PART as to

  attorneys’ fees and costs. The Magistrate Judge further recommended Defendants’ Motion to

  Dismiss (Docket No. 13) be DENIED AS MOOT WITHOUT PREJUDICE to refiling in state

  court.

           No objections have been filed to the Report and Recommendation. The Court, having

  reviewed the relevant briefing and the Report and Recommendation, is of the opinion the findings

  and conclusions of the Magistrate Judge are correct. That Report and Recommendation contains

  a thorough analysis of both the facts underlying this lawsuit and the law requiring that this Court

  remand the matter to state court.        As such, the Court hereby adopts the Report and
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  Recommendation (Docket No. 20) as the findings and conclusions of this Court. Accordingly, it

  is hereby

          ORDERED that Plaintiff’s Motion to Remand and for Reimbursement of Costs and Fees
      . No. 12) is GRANTED IN PART and DENIED IN PART. Specifically, Plaintiff’s
  (Docket

  motion to remand pursuant to 28 U.S.C. § 1447 is granted and Plaintiff’s fee request is denied. It

  is further

          ORDERED the above-referenced cause of action is REMANDED to Franklin County,

  Texas. It is further

          ORDERED Defendants’ Motion to Dismiss (Docket No. 13) is DENIED AS MOOT

  WITHOUT PREJUDICE to refiling in state court.

          So ORDERED and SIGNED this 11th day of January, 2021.




                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE




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